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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )       CRIMINAL ACTION NO.
     v.                                )          2:21cr455-MHT
                                       )               (WO)
WILLIAM COLON EASTERLING,              )
BRENT COLON EASTERLING,                )
WILLIAM TYLER EASTERLING,              )
and                                    )
GEORGE WILLIAM EASTERLING              )

                                  ORDER

    With regard to all motions in limine and written

evidentiary       objections      filed       before     trial       and     not

otherwise    set    for    submission         and     briefing       by    court

order, it is ORDERED as follows:

    (1) By no later than 10 business days before jury

selection,       counsel   for    the       parties    are     to    meet,    in

person,     to     attempt       to     resolve       the      motions       and

objections; and

    (2) By no later than five business days before jury

selection,       counsel   for        the   parties     are     to    file     a

jointly prepared report (a) as to which issues in the

motions   and     objections      are       resolved     and    which       ones
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remain   unresolved       and     (b),     for    each     and    every

unresolved issue, setting forth in detail the position

of each side.

    DONE, this the 31st day of May, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                   2
